872 F.2d 416Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Sinclair Landon ATKINS, Jr., Plaintiff-Appellant,v.Darius L. ROBINSON, Sgt., Chester Spruill, Cpl., Defendants-Appellees.
    No. 88-6868.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 19, 1989.Decided March 17, 1989.
    
      Sinclair Landon Atkins, Jr., appellant pro se.
      William W. Muse, Office of the Attorney General of Virginia, for appellees.
      Before WIDENER, MURNAGHAN, and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Sinclair Landon Atkins, Jr., appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Atkins v. Robinson, C/A No. 88-381-N (E.D.Va. Nov. 23, 1988).  We dispense with oral argument because the dispositive issues recently have been decided authoritatively.
    
    
      2
      AFFIRMED.
    
    